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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 PRINZO & ASSOCIATES, LLC, on behalf of
 itself and all others similarly situated,           Civil No. 20-cv-3256

                                                     JOINT INITIAL STATUS REPORT
                      Plaintiff,

 v.                                                  Hon. Gary S. Feinerman
 BMO HARRIS BANK N.A., BMO
 FINANCIAL CORP., a Delaware corporation;
 and DOES 1 through 100, inclusive,

                      Defendants.


       The Parties, through their respective counsel, met and conferred under the Federal and

Local Rules on July 17, 2020, and communicated thereafter in finalizing this joint report.

       A.      Nature of the Case

               1.     Attorneys of record.

       Plaintiff is represented by Richard McCune, Michele Vercoski, Derek Brandt and Leigh

Perica of McCune Wright Arevalo, LLP, and anticipate that Mr. McCune and Mr. Brandt will

serve as lead trial counsel. Defendants are represented by Jeffrey Jamison and Julie Aldort, of

BMO Harris, and anticipate that Mr. Jamison and Ms. Aldort will serve as lead trial counsel.

               2.     Basis for federal jurisdiction.

       Plaintiff alleges that this Court has subject matter jurisdiction pursuant to the Class Action

Fairness Act, 28 U.S.C. § 1332(d); jurisdiction to grant declaratory relief under 28 U.S.C. § 2201

because an actual controversy exists between the parties as to their respective rights and

obligations under 85 Fed. Reg. 20816 § (4)(c); and supplemental jurisdiction over its state law

claims under 28 U.S.C. § 1367.



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        Defendants contend that, while this Court may have subject matter jurisdiction under the

Class Action Fairness Act, this Court lacks subject matter jurisdiction because Plaintiff has not

established Article III standing—it has not established injury in fact. Moreover, Defendants

contend that this Court lacks jurisdiction to grant declaratory relief under 28 U.S.C. § 2201 because

there is no actual controversy exists between the parties as to their respective rights and obligations

under 85 Fed. Reg. 20816 § (4)(c). Defendants also dispute that this Court has supplemental

jurisdiction of Plaintiff’s state law claims.

                3.      Nature of the claims asserted.

        The above-captioned case is a proposed class action arising out of the Paycheck Protection

Program (“PPP”) created as part of the Coronavirus Aid, Relief, and Economic Security Act (the

“CARES Act”). In its complaint, Plaintiff Prinzo & Associates, LLC alleges that the PPP requires

the Defendant banks to provide “agents” who assisted borrowers with completing or submitting

loan applications, and/or assisted borrowers with creating or providing supporting documentation

for loan applications, a portion of the resulting compensation the lender received for processing

these forgivable loans. Plaintiff alleges that each Defendant has adopted a policy of refusing to

pay agent fees and that those policies do not comply with the PPP. Plaintiff contends that its

professionals assisted a borrower in filling out PPP applications, and provided supporting

documentation for said application, but have not been paid an agent fee by Defendants.

        Defendants dispute the Plaintiff’s interpretation the CARES Act and PPP—lenders are

required pay self-declared agents who did not satisfy the Small Business Association’s (“SBA”)

regulations. Moreover, Defendant contends that Plaintiff cannot satisfy its own requirements to

be paid an agent fee—submitting a request for payment.



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         Plaintiff asserts the following claims on behalf of proposed nationwide classes of agents

who have assisted PPP loan applicants in their completion and submission of their BMO Harris

applications: (1) declaratory relief, (2) breach of contract – third party beneficiary, (3) violations

of Illinois’ Consumer Fraud and Deceptive Business Practices Act (ICFA), 815 ILCS 505/2 et

seq., (4) unjust enrichment, and (5) conversion. Plaintiff seeks certification of a class (Fed. R. Civ.

P. 23), as well as economic, monetary, actual, consequential, compensatory, and punitive damages,

attorney’s fees, and costs, and an injunction and/or declaratory relief as necessary to protect the

interests of the Plaintiff and the Class against Defendants.

        Defendants deny that Plaintiff is entitled to any relief. Defendants also dispute that there is

a basis for class certification.

                4.      The principal legal issues.

        The principal legal issues include:
            •   Whether the Plaintiff has standing to pursue its claims.

            •   Whether the Defendants are obligated under the PPP to pay Plaintiff and a class of
                similarity situated agent fees from their receipt of PPP payments, and if so, under
                what circumstances and based on what documentation.

            •   If Plaintiff is entitled to an agent fee, when must the Defendants pay that fee.

            •   Whether the putative class meets the numerosity, adequacy, commonality,
                typicality, predominance, and superiority requirements of Rule 23.

            •   Whether a temporary or permanent injunction is warranted to protect the interests
                of the Plaintiffs and the Class.

                5.      The principal factual issues.

        The principal factual issues concern: 1) whether the Plaintiff has suffered an injury in fact;

 2) whether Defendants’ policy was nonpayment of fees to “agents” who assisted borrowers with

 completing or submitting loan applications, and/or assisted borrowers with creating or providing



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 supporting documentation for loan applications and related Rule 23 issues; 3) whether Plaintiff

 satisfied its obligations under the SBA’s regulations to obtain an agent fee; 4) whether Plaintiff

 has established that it is an “agent”; 5) whether Plaintiff’s purported status as an agent was

 disclosed to Defendants and, if yes, when; 6) what services Plaintiff provided as an agent; 7)

 whether Plaintiff has properly documented its fees and services under the applicable statutes and

 regulations; and 8) the amount of fees, if any, owed to Plaintiff and the class of similarly situated

 agents.

               6.      Parties yet to be served.

All named defendants have been served.

        B.     Proceedings to Date

None.
        C.     Discovery and Case Plan

               1.      Summary of Discovery.

        Deposition discovery shall comply with FRCP 30 (no more than 10 depositions per side)

absent a showing of good cause, except that this limit shall not apply to: (1) expert discovery; (2)

declarants offered in support or opposition to class certification; (3) non-rebuttal witness identified

to testify at trial. All other discovery, including interrogatories, requests for production, and

requests for admission, shall comply with the Federal Rules. The parties anticipate that there will

be electronic discovery. The parties also anticipate that a protective order will be required in this

case to protect confidential business and client information. The parties will submit a joint

proposal regarding the ESI Protocol and Protective Order to govern this case no later than August

14, 2020.

               2.      Proposed Scheduling Order



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       Defendants consent to the cadence of the proposed scheduling order, but contend that

discovery should be stayed and the dates set forth below reset following the resolution of

Defendants’ motion to dismiss to be filed on or before August 14, 2020. Defendants reserve the

right to request phased discovery after the Court rules on Defendants’ motion to dismiss.

       Plaintiff disagrees and contends that there is no default stay of discovery pending a

defendant’s motion to dismiss. See New England Carpenters Health & Welfare Fund v. Abbott

Labs., No. 12C1662, 2013 WL 690613, *1 (N.D. Ill. Feb. 20, 2013) citing SK Hand Tool Corp. v.

Dresser Indus., 852 F.2d 936, 945 (7th Cir. 1988). A Rule 12 motion alone typically is deemed

insufficient to support such an application for stay. New England Carpenters, 2013 WL 690613

at *2. Therefore, discovery should proceed per the applicable rules.


 Deadline                                           Date
 Rule 26(a)(1) Disclosure Deadline                  August 31, 2020
 Deadline for issuing first round of written        September 21, 2020
 discovery
 Deadline for amending pleadings and adding         September 7, 2020
 parties without leave of Court
 Plaintiff’s Motion for Class Certification         March 1, 2021
 Defendants’ Response to Class Cert Motion          April 15, 2021
 Plaintiff’s Reply for Class Certification          May 17, 2021
 Plaintiff’s Expert Disclosure Deadline             March 1, 2021
 Plaintiff’s Expert Deposition Deadline             March 22, 2021
 Defendant Expert Disclosure Deadline               April 15, 2021
 Defendant Expert Deposition Deadline               May 6, 2021
 Plaintiff’s Rebuttal Expert Disclosure Deadline    May 17, 2021
 Deadline for completing Fact discovery             June 1, 2021
 Dispositive Motion Deadline                        June 15, 2021


               3.     Jury demand.

       Plaintiff has demanded jury trial.

               4.     Trial.




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       The parties believe a decision regarding the length of trial or the earliest possible trial date

should be deferred until: (1) Defendants’ motion to dismiss is resolved; and (2) issues of class

certification are resolved.

       D.      Settlement

       The parties have not yet engaged in any settlement discussions. At this time, the parties do

not request a settlement conference.

       E.      Magistrate Judge

       The parties respectfully decline to consent to proceed before a Magistrate Judge. As of this

date, no matters have been referred to a Magistrate Judge.

DATED: July 27, 2020                                   Respectfully Submitted,

 /s/ Richard D. McCune                                /s/ Jeffrey E. Jamison (with consent)
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 Associates, LLC




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                                CERTIFICATE OF SERVICE

        I, Richard D. McCune, an attorney, hereby certify that the foregoing JOINT INITIAL

STATUS REPORT was electronically filed on July 27, 2020 and will be served

electronically via the Court’s ECF Notice system upon the registered parties of record.

                                                            /s/ Richard D. McCune
